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             UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION

WENDELL CURRIN,
   Plaintiff,

vs.                                  Case No.: 3:22cv20350/MCR/ZCB

TIMOTHY BEAVERS, et al.,
     Defendants.
____________________________________/

                                  ORDER

        This matter came before the Court for hearing on motions for a

protective/confidentiality order governing discovery filed by Plaintiff and

non-party Florida Department of Corrections (FDC). (Docs. 106, 115).

During the hearing, the parties and the FDC agreed to use the

confidentiality order issued by the Court in Bowens v. Clemmons,

3:22cv3003/LC/HTC (N.D. Fla.) as a template for a stipulated

confidentiality order in this case. (Id., Doc. 58.).

        The Court hereby ORDERS the parties and the FDC to file a

proposed stipulated confidentiality order governing discovery in this

case.    That proposed stipulated confidentiality order shall have no

substantive differences from the order issued in Bowens. The proposed


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stipulated confidentiality order shall be filed, along with a consent

motion seeking the Court’s approval of the proposed order, on or before

June 7, 2024.

     The Clerk of Court is directed to TERMINATE the pending

motions for protective/confidentiality order (Docs. 106, 115).

     SO ORDERED this 31st day of May 2024.

                                  /s/ Zachary C. Bolitho
                                  Zachary C. Bolitho
                                  United States Magistrate Judge




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